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    EXHIBIT “L”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Re: Deposition Notice for the Zakaria Defendants for 5/14/24 at 10 am
   Date: May 6, 2024 at 12:29 AM
     To: Patrick Healey phealey@rebarkelly.com, Cathleen Kelly Rebar crebar@rebarkelly.com
    Cc: Laver, Seth L. slaver@goldbergsegalla.com, Joseph Ross jross@goldbergsegalla.com, Gary Weiss wgary4109@gmail.com,
         monipair monipair@aol.com, Sam Gross charltonholdinggroupllc@aol.com, Sam Gross Scg1212@gmail.com, Sam Gross
         publicdiamonds@gmail.com, Sam Gross samrosinc@icloud.com, Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi
         gmanochi@lightmanlaw.com



   Patrick,

   First, it is NOT improper for us to schedule a deposition of Zekaria even when there is a Motion pending for your law firm to withdraw.
   No stay has been entered, and you still are counsel for the Zekaria Defendants, and there is no rule or caselaw that we know of, that
   prevents us from continuing to take action in the lawsuit, notwithstanding your Motion to Withdraw. You do not state in your Motion
   that Zekaria is not paying you, so presumably you will be paid for your time.

   Second, I asked you to give me dates for her re-scheduled deposition by Friday 4/26, which you failed to do.

   We are willing to agree to re-schedule her 5/14 deposition, provided that you give us other available dates the weeks of May 13 and
   May 20 for her re-scheduled deposition. Otherwise, we intend to proceed forward with her deposition as scheduled on 5/14, absent a
   Court Order to the contrary.

   All you need to do is give us other available dates in May when we can depose her, and “problem solved” for everyone.

   Please be guided accordingly.

   thx
   Gary Lightman
   cell 215-760-3000

    On May 2, 2024, at 7:30 PM, Patrick Healey <phealey@rebarkelly.com> wrote:

    Gary:

    Please be advised that we are not available for a deposition on May 14, 2024. It is improper for you to schedule a deposition of Ms. Zekaria when there is a Motion pending
    (and hearing scheduled) for our firm wo withdraw as counsel. I am not available to discuss this matter until May 13 when I am hack from vacation. I will speak to you then.

    Pat Healey




                                                  Patrick J. Healey
                                                  Partner
                                                  256 West 36th Street
                                                  Suite 900
                   <image001.png>                 New York, New York 10018
                                                  212.858.9970 | Fax 212.858.9971
                                                  C: 215.266.4879
                                                  E: phealey@rebarkelly.com
                                                  W: www.rebarkelly.com


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                                                OHIO
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                                        Columbus, OH 43219
                                  614.245.2141 | eFax: 888.761.8299




    From: Gary Lightman <garylightman@lightmanlaw.com>
    Sent: Monday, April 29, 2024 4:06 PM
    To: Patrick Healey <phealey@rebarkelly.com>; Cathleen Kelly Rebar <crebar@rebarkelly.com>
    Cc: Laver, Seth L. <slaver@goldbergsegalla.com>; Joseph Ross <jross@goldbergsegalla.com>; Gary Weiss <wgary4109@gmail.com>; monipair <monipair@aol.com>; Sam Gross
    <charltonholdinggroupllc@aol.com>; Sam Gross <Scg1212@gmail.com>; Sam Gross <publicdiamonds@gmail.com>; Sam Gross <samrosinc@icloud.com>; K. DiTomaso
    <kditomaso@lightmanlaw.com>; G. Manochi <gmanochi@lightmanlaw.com>; GARY LIGHTMAN <ltag8r@me.com>
    Subject: DeposiWon NoWce for the Zakaria Defendants for 5/14/24 at 10 am


    Patrick,

    You are hereby served with plaintiff’s Second Amended Notice of Oral Depositions of Daphna Zekaria, Esquire and Sokolski & Zekaria, PC (With Request for
    Production of Documents), re-scheduling the in-person depositions of the Zekaria Defendants to commence on Tuesday, May 14, 2024, at 10:00 a.m., in the
    President’s Board Room of the Country House at Bluestone Country Club, 711 Boehms Church Road, in Blue Bell, PA 19422 (the same room where the
    4/2/24 deposition of Zekaria was started).

    thx
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 thx
 Gary Lightman
 cell 215-760-3000

 attachment

 We are pleased to announce that our New York office has relocated, and therefore our address has
 changed.

 Please note, our New York office address is now:

 256 West 36th Street
 Suite 900
 New York, NY 10018
—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


LIGHTMAN & MANOCHI
600 West Germantown Pike, Suite 400
Plymouth Meeting, PA 19462
Phone: (215) 545-3000

New Jersey:
Phone: (856) 795-9669 (ext. 107); fax (856) 795-9339

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